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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                      WesternDistrict
                                                 __________  District of
                                                                      of Virginia
                                                                         __________

                  United States of America
                             v.                                     )
                                                                    )        Case No.    4:20CR00008-004
                  STEVEN WAYNE FLYNN                                )
                                                                    )
                                                                    )
                                                                    )
                            Defendant


                                                      ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Steven Wayne Flynn                                                                                  ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment         u Information        u Superseding Information             u Complaint
u Probation Violation Petition              u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  Drug Conspiracy; Prohibited Person in Possession of Firearm; Firearm Used in Drug Trafficking




Date:         02/13/2020
                                                                                           Issuing officer’s signature

City and state:       Roanoke, VA                                           Hon. Elizabeth K. Dillon, United States District Judge
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
